                                      UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF VIRGINIA
                                           ROANOKE DIVISION

                                    CRIMINAL MINUTES - MOTION HEARING


      Case No.: 4:18CR00012 US v Deshawn Romeer Anthony, et al       Date: 11/20/2019


      Defendant:                                             Counsel: Charles Bledsoe, Mark Haugh - CJA
      -003 Tredarius Jameriquan Keene, custody               Neil Horn, Seth Weston - CJA
      -004 Montez Lamar Allen, custody                       Jacqueline Reiner, Tom Bondurant, Jr. - CJA
      -005 Javontay Jacquis Holland, custody                 Paul Beers - CJA
      -008 Jalen Cormarrius Terry, custody



PRESENT:          JUDGE:                   Michael F. Urbanski, CUSDJ      TIME IN COURT: 10:13-11:24 1h 11m
                  Deputy Clerk:            Kristin Ayersman
                  Court Reporter:          JoRita Meyer
                  U. S. Attorney:          Heather Carlton, Ron Huber, Rachel Swartz
                  USPO:                    Kimberly Falatic
                  Case Agent:              Devin Taylor, FBI TFO
                  Interpreter:             none


                                                 WITNESSES:


 GOVERNMENT                                             DEFENDANT

 1.                                                     1.

 2.                                                     2.

 3.                                                     3.

 4.                                                     4.



PROCEEDINGS:

Court addresses parties re outstanding items on docket, pending appeal of 7/23/19 Opinion/Order ECF 395,
396. US is going forward with appeal of VICAR counts in this case. Court asks to hear about ECF 472 – Mr.
Weston responds, asking for date certain and amended scheduling order. Court will not have late discovery in
this case, noting ECF 491. Bond may become an issue for these dfts should case be set out, and parties can
renew motions for bond should change in circumstances exist. Mr. Bledsoe (Keene) joins in motion, asks for
date specific. Mr. Beers (Terry) joins 472. Ms. Reiner (Holland) joins motion, asks for new scheduling order with
new PTC dates. Court advises parties of right to file any additional argument/briefing re tool marks, in regard to
decision in US v Davis, et al, and parties may set oral argument on that issue as these dfts were not party to
that argument. Ms. Reiner asks that Holland motion ECF 486 re 404(B) evidence be incorporated into the new
scheduling order. Court will file new scheduling order, new PTC dates – will email parties with those dates prior
to the order being filed. Mr. Reiner raises ECF 494 Motion for Furlough – court will address. Court grants ECF
343 and will set pretrial dates. ECF 345 – re Alibi demand, filed by US. Mr. Horn addresses alibi issue. Court




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oral order denying ECF 345 as moot, pretrial order will have specific due date to reissue alibi demand. US
w/d’s ECF 371 Motion to conduct trial in Danville. US notes juvenile matter still under appeal, and that dft would
be married with this case upon conclusion of appeal. Mr. Wills states counsel has been involved in this case
and will continue to be. US notes jurisdiction issue. Court grants motion to continue, January trial date removed
from calendar. Grants 471 and 472. Current pretrial order suspended; court will contact parties re schedule
prior to entering order. Court will not empanel Danville jury for this case – it will be a Roanoke jury, tried in
Roanoke, due to travel and inconvenience of jurors and security issues faced by USMS in Davis trial. Court
addresses other pending motions/discovery motions, asking how parties want to deal with these pending
motions, noting 12/6 hearing that is currently set. All dfts agree; US asks to reset to date in January that trial
was set to occur on to allow response time. Court asks US about trial time frame for this case - US believes
four weeks, noting stipulations were helpful in shortening evidence. Court will not summons as many jurors for
this case and states the jury questionnaire will be shortened for this case. Court asks if US intends to call
Matthew Ferguson – no. Court believes that response moots the motion to review FPD files. Court denies as
moot without prejudice ECF 485 by oral order. Mr. Weston (Keene) responds. Keene counsel now agrees with
US suggestion to move next hearing to January, and asks court not to to issue ruling today on 485. Court
vacates oral order mooting ECF 485. Court cancels PTC’s set for 12/6, 12/20, 1/3. New PTC date 1/17/20 @
10 am. New trial dates 8/24/20-9/18/20, in Roanoke with Roanoke jury. Court will email counsel with other PTC
dates, notes discovery ddl is over. Ms. Reiner comes back to motion for furlough. US opposes, for reasons
stated. Dft Holland’s counsel responds. Dft Holland Ex 1, m/r. Court denies motion for reasons stated on
record, however court will ask USMS about in custody escort to pay last respects privately, however not to
attend funeral. Recess.




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